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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-364V
                                        UNPUBLISHED


 LISA HULL-CRAWFORD,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: September 28, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Michael G. McLaren, Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN, for
Petitioner.

Emilie Williams, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On March 31, 2020, Lisa Hull-Crawford filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of her October 27, 2018 influneza (“flu”) vaccination.
Petition at 1. Petitioner further alleges that the vaccine was administered within the United
States, that she suffered the residual effects of her injury for more than six months, and
that there has been no prior award or settlement of a civil action on her behalf as a result
of her injury. See Petition at ¶¶ 2, 15-17. The case was assigned to the Special
Processing Unit of the Office of Special Masters.


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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      On September 27, 2021, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent indicates that

       [m]edical personnel at the Division of Injury Compensation Programs,
       Department of Health and Human Services (“DICP”), have reviewed the
       petition and medical records filed in the case. It is [R]espondent’s position
       that [P]etitioner has satisfied the criteria set forth in the Vaccine Injury
       Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”).
       That is, [P]etitioner had no relevant history of pain, inflammation, or
       dysfunction in her left shoulder; her pain and reduced range of motion
       occurred within 48 hours of receipt of an intramuscular vaccination; her
       symptoms were limited to the shoulder in which the vaccine was
       administered; and no other condition or abnormality was identified to
       explain her symptoms. 42 C.F.R. § 100.3(a), (c)(10).

Id. at 6-7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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